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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             NEW ALBANY DIVISION


 LOUIS AND KAREN METRO                            )
 FAMILY, LLC, and                                 )
 SOUTHERN OHIO PIZZA, INC.,                       )
                                                  )
                                Plaintiffs,       )
                                                  )
                   v.                             )      4:06-cv-177-WGH-DFH
                                                  )
 LAWRENCEBURG CONSERVANCY and                     )
 CITY OF LAWRENCEBURG,                            )
                                                  )
                                Defendants.       )


                        FINDINGS OF FACT, CONCLUSIONS
                             OF LAW AND DECISION

       This matter is before the Honorable William G. Hussmann, Jr., United

 States Magistrate Judge, pursuant to the parties’ consent to refer this matter to

 the Magistrate Judge found in the Parties’ Case Management Plan and the Order

 of Reference entered by Chief Judge David F. Hamilton on April 3, 2007. (Docket

 Nos. 15, 16). A bench trial was held in New Albany, Indiana, on March 10 and

 11, 2009. Plaintiffs Louis and Karen Metro Family, LLC (“Metro Family”) and

 Southern Ohio Pizza Inc. (“SOP”) were represented by counsel, Joshua Taylor

 Rose and Susan Lynn Williams. Defendant Lawrenceburg Conservancy (“LCD”)

 was represented by counsel, Richard A. Butler, William C. Moyer, and Stephen

 Naville. Defendant City of Lawrenceburg (“City”) was represented by counsel,

 Joseph Wilber Votaw, III.

       The Magistrate Judge, being duly advised, hereby enters his Findings of

 Fact, Conclusions of Law and Decision:
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                                  Findings of Fact

        1. Metro Family is a limited liability company organized under the laws

 of the State of Ohio, with its principal place of business in Ohio, and is owned

 and operated by Lewis and Karen Metro, residents of Ohio. Metro Family is a

 family-held LLC and was set up to pass real estate and future ownership to the

 Metro children.

       All members of Metro Family were residents of Ohio as of the date of the

 filing of the Complaint in this case. Metro Family leases property to SOP, who

 operates Domino’s Pizza franchises owned by Metro Family.

       SOP is a corporation organized under the laws of the State of Ohio, with its

 principal place of business in Ohio.

        2. LCD is a conservancy district created pursuant to Indiana statutes for

 the purpose of flood control, including building floodwalls/levees. LCD was

 created by the State of Indiana Natural Resources Commission, as provided in

 Indiana Code 14-33.

       The City is a municipality located in Dearborn County, Indiana.

        3. As a result of a 1997 flood, beginning in 2000, the City and LCD

 began discussions concerning a project known as the Westside Flood Protection

 Project which involved construction of a levee (the “Levee Project”).

        4. The City and LCD entered into an Extension of Revenue Sharing

 Agreement, dated December 21, 2000, whereby the City and LCD agreed to

 jointly fund the Levee Project until the project was completed. Funding was




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 agreed to be largely derived from gaming revenues that the City and LCD

 received and were to receive from a Lawrenceburg casino boat. (See Exhibit 3).

        5. On January 25, 2001, LCD notified Metro Family that LCD intended

 to acquire through eminent domain a 1.77-acre parcel of land owned by Metro

 Family located at 8-12 Beilby Road in Lawrenceburg, Dearborn County, Indiana

 (“the Property”). (See Exhibit 6).

        6. The sole purpose for obtaining the Property was to enable LCD to

 construct the Levee Project, and there was no other public purpose for the taking

 at that time.

        7. An appraisal for the Property was conducted by Jeffrey D. Thomas, a

 licensed appraiser, on November 1, 2001. (Exhibit 72).

        8. Thomas concluded that the fair market value of the Property was

 $417,000.

        9. In conducting the appraisal to determine the Property’s value, Mr.

 Thomas used the comparable sales approach, cost approach, and income

 approach to arrive at the $417,000 fair market figure.

       10. On March 22, 2001, LCD sent to Metro Family an Acquisition Offer for

 the Property pursuant to I.C. 32-24-1-5. (See Exhibit 7).

       11. Metro Family, through its attorney, Jennifer Ball Wolfe, did not agree

 to accept the offer as tendered and sought to negotiate additional consideration

 in a series of correspondence and conversations between Ms. Wolfe and Grant

 Hughes, as LCD’s project manager. (See Exhibits 8, 9, 10, 11, 13, 14 and 16).




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       Wolfe also corresponded with William Ewan, attorney for LCD. (Exhibits

 14, 16). These negotiations were by mutual agreement and took place between

 March 29, 2001, and July 3, 2001.

       12. On July 19, 2001, Ms. Wolfe submitted a formal counter offer to LCD.

 (Exhibit 20). In order to avoid litigation and further eminent domain

 proceedings, Metro Family agreed to accept the $417,000 offer, along with an

 option to purchase the land back and a “guarantee” of Metro Family’s right to

 exercise the option within eighteen (18) months of LCD taking possession of the

 Property.

       13. On July 30, 2001, Mr. Hughes drafted a response which states, “The

 LCD accepts your counter offer of July 19, 2001, with the above exceptions [not

 material to this matter] and the understanding that the Settlement of Business

 interruption Expense will need to be supported with proper documentation.”

 (Exhibit 21).

       14. On August 3, 2001, Mr. Ewan sent to Metro Family documents

 showing city approval of funding for the project. (Exhibit 22).

       15. Mr. Ewan began drafting the agreement between LCD and Metro

 Family to resolve the dispute in lieu of litigation through eminent domain.

 (Exhibits 24, 25; testimony of Ewan).

       16. On October 25, 2001, Mr. Ewan emailed a draft of the proposed

 agreement to Ms. Wolfe. (Exhibit 27). Ms. Wolfe reviewed the document.

 (Exhibits 26, 27, 28 and 29).




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       17. The final version of the Agreement was signed by the parties on

 October 31, 2001, and contains the following relevant provisions:

               2. At the time of closing, which shall occur on or before
       November 30, 2001, District shall execute an irrevocable Option in
       favor of Metro wherein Metro shall have the right to purchase 0.827
       acres of the real estate described in Exhibit A and the adjoining
       0.555 acres (formerly part of the Taylor property) for a purchase
       price of Two Hundred Sixty-Nine Thousand Four Hundred Ninety
       ($269,490.00) Dollars, which Option shall specify that the purchase
       shall be subject to a new easement in favor of District for the
       location, repair, maintenance and replacement of its facilities to be
       constructed on said real estate; a new easement in favor of City for
       the location, repair, maintenance and replacement of its new
       pumping station to be constructed on said real estate; existing
       easements for roads in favor of the State of Indiana; existing flowage
       easements in favor of the United States of America; other easements
       of record; and riparian rights of Tanner’s Creek, and shall be
       exercisable for a period of eighteen (18) months commencing with
       the date written notice of Substantial Completion of the District’s
       facilities is given by District to Metro by registered mail, certified
       mail, acknowledged facsimile, or acknowledged email transmission.
       The Option shall further stipulate that the property be excavated
       and left by the District in a reasonable manner to facilitate Metro’s
       plans to rebuild a facility.

                                         *****
              5. Metro and Domino’s agree that possession shall be given
       District on or before December 1, 2001, and Metro agrees that his
       tenants will be out on or before November 30, 2001. The District
       agrees to indemnify and hold harmless Metro, his heirs and assigns,
       for any liability arising out of the early termination of his tenants’
       leases.

              6. District and Domino’s agree that Business Relocation
       Payments shall be in the total amount of One Hundred Fifty-Three
       Thousand ($153,000.00) Dollars. Business Relocation Payments are
       to be made by the District pursuant to the provisions of Indiana
       Code 8-23-17-12 and 8-23-17-13 and Chapter 4 of the “Acquisition
       Handbook” published by HUD (including May 1996 CH-4), a copy of
       which is attached hereto and made a part hereof as Exhibit B. At
       the time of closing, fifty (50%) percent of said amount, or the total of
       all documented Business Relocation Expenses, whichever is greater,
       will be payable to Domino’s. Acceptable Documentation shall be
       written third party quotes, leases, or receipts for any item qualifying

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       under Exhibit B. Acceptable Documentation shall also include
       official correspondence from Domino’s Piazza [sic] corporate office
       specifying requirements. Acceptable Documentation of lease
       expenses for Domino’s current lease shall be business records
       demonstrating payments by Domino’s to Metro for the current
       location. Acceptable Documentation shall include plans,
       specifications, photographs, inventories, equipment lists, profit and
       loss statements, audited financial statements, or any other
       reasonable method which will provide documentation to the District
       permitting it to withstand an audit by the Indiana State Board of
       Accounts.

                                      *****

             8. At the time of closing and upon presentation of Acceptable
       Documentation as set forth in paragraph 2 above, District shall pay
       to Metro a sum equal to the difference in his lease payments from
       his current location and his new location for a period of eighteen
       (18) months (i.e. the difference x 18).

              After such initial payment of lease expenses is made, it is the
       District’s intent to impose certain restrictions on Metro’s payments
       with regard to lease expenses. Accordingly, at the end close [sic] of
       the eighteen (18) month period described above, if Metro has not
       exceeded a total of $153,000.00 in payments as set forth in
       paragraph 7 above, he may submit Acceptable Documentation for
       additional payments in lease expenses. At such time and upon such
       occurrence, if Metro exercises his option to purchase back District
       property, then he shall receive payments equal to the difference
       between Fifteen ($15.00) Dollars per square foot and the amount of
       his current least rate on a per square foot basis for an additional
       forty-two (42) months or until such time as the $153,000.00 is paid,
       whichever comes first. In the event Metro does not exercise his
       option to purchase back District property, then he shall receive,
       upon the presentation of Acceptable Documentation, lease expense
       payments equal to the difference between his current location and
       his new location for a period of forty-two (42) months or until such
       time as the $153,000.00 is paid, whichever comes first.

                                      *****

            11. Should Metro not exercise the Option and Domino’s not
       occupy a new facility owned by Metro, but remain in its temporary
       location or relocate to another permanent location within the City of
       Lawrenceburg, then the Business Relocation Expenses payable
       pursuant to this Agreement shall still be paid upon receipt of

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       Acceptable Documentation. Should Metro not exercise the Option
       and Domino’s not remain within the City of Lawrenceburg, then no
       further payments shall be made.

                                      *****

             14. This Agreement constitutes the entire agreement between
       the parties and replaces any prior agreements, whether written or
       oral, and shall only be modified by a document in writing signed by
       all the parties hereto.

 (Exhibit 2).

       18. The Agreement did not explicitly address whether the option could be

 exercised by Metro Family if the Levee Project was not completed.

       19. As of the October 31, 2001, date of the execution of the Agreement,

 the Agreement was not ambiguous because at that time both Metro Family and

 LCD reasonably believed that funding for the project was in place, the project

 was commenced and would be completed, and that Metro Family would be able

 to exercise its option because there would be sufficient land available behind an

 appropriate levee to rebuild. At this time neither party contemplated that the

 Levee Project would not be completed.

       20. Although LCD had received communications from some City Council

 members inquiring about the project, the LCD, through Mr. Ewan, did not

 consider them serious threats to completion of the Levee Project. (Testimony of

 Ewan; testimony of Lorey). No information about the City Council members’

 concerns were ever communicated to Metro Family.

       21. The attorneys for Metro Family prepared the Deed conveying the

 Property from Metro Family to LCD.



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       22. On November 30, 2001, the chairman of LCD executed an Option for

 the Purchase of Real Estate (“the Option”). (See Exhibit 1).

       23. The Option provided, in pertinent part:

       1.    The purchase price shall be the sum of Two Hundred Sixty-
       Nine Thousand Four Hundred Ninety ($269,490.00) Dollars to be
       paid in full at the time of closing.

       3.    This Option shall be exerciseable [sic] by Metro for a period of
       eighteen (18) months commencing with the date written notice of
       Substantial Completion of the District’s facilities is given by the
       District to Metro by registered mail, certified mail, acknowledged
       facsimile, or acknowledged email transmission.

 (Exhibit 1).

       24. Prior to the execution of the Option, Wolfe reviewed and approved of

 the Option language via email communications with counsel for LCD. The

 emails from Metro Family’s attorney to the attorney for LCD read, in part: “The

 option agreement looks fine. I will forward to Mr. Metro to review as well, but

 don’t anticipate any problems as it is very concise and succinct as to what was

 already agreed.” (Exhibits 32, 33).

       25. The original Option was provided to Metro Family at the closing on

 November 30, 2001.

       26. At the time the Option was executed, LCD intended to use the

 Property for construction of the Levee Project and for no other purpose.

       27. At the time of the execution of the Option on November 30, 2001, the

 Option was not ambiguous because both parties reasonably believed that

 funding for the Levee Project was in place, that the project was commenced and

 would be completed, and that Metro Family would be able to exercise its Option


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 because there would be sufficient land available behind an appropriate levee to

 rebuild.

          At this time, neither party contemplated that the Levee Project would not

 be completed. Although LCD had received communications from some City

 Council members inquiring about the project, LCD did not consider them serious

 threats to completion of the Levee Project, and no information about the City

 Council members’ concerns was communicated to Metro Family at this time.

          28. On January 28, 2002, the Lawrenceburg Common Council passed a

 resolution withdrawing its funding from the Levee Project. (Exhibits 34, 35).

          29. Without City funding, LCD chose not to complete the Levee Project.

 (Testimony of Ewan; testimony of Lorey). The Levee Project could not be

 completed because the ballpark “cost of the project” was between $29 and $32

 million. LCD had only $20 million available for the project at that time, and LCD

 members did not wish to raise taxes or levies to complete the project at that

 time.

          30. The action of the City to withdraw funding was an event not

 contemplated by either party to the Agreement or Option prior to January 28,

 2002; that action caused the essential purpose of the Agreement to fail.

 Specifically, the essential purpose of the Agreement was to exercise the power of

 eminent domain to obtain the Property solely for the purpose of constructing the

 levee.

          31. Under Indiana law, an event occurring after the execution of a written

 contract which causes the essential purpose of the contract to fail, and which


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 was not reasonably anticipated by the parties, creates a latent ambiguity in the

 document.

       32. Where there is a latent ambiguity, the court may use extrinsic

 evidence to determine the intent of the parties. Here, the following evidence

 supports the conclusion that Metro Family was to be entitled to exercise its

 Option if the Levee Project did not reach completion:

       (a)   Exhibit 11, a letter from Jennifer Ball to Grant Hughes, states,
             in pertinent part: “We do not want to waste your time or our
             time in further preparing a proposal if the committee is
             conceptually opposed to the idea [the idea is “returning to the
             property]. . . . Assuming the committee is not opposed to Mr.
             Metro returning to the property, I will work with Mr. Ewan to
             prepare the proposal to fit the statutory requirements.”
       (b)   Exhibit 13, a letter from Jennifer Ball to Grant Hughes, states,
             in pertinent part: “The Mayor is supportive of keeping Mr.
             Metro in his current location and will work with local officials
             to approve the necessary variances for signage and parking. It
             is estimated 10-15 parking spaces will be needed and Mr.
             Metro’s current signage will remain the same size.”
             Paragraph 4 in that letter states: “As a condition for Mr.
             Metro maintaining ownership of his land in this eminent
             domain action, Mr. Metro must make an offer to purchase an
             additional .55 acres from the Lawrenceburg Conservancy.”
       (c)   The fact that the Option required Metro Family to obtain
             additional land also in the floodplain would not be necessary if
             the parties did not anticipate his return to the same location.
       (d)   Exhibit 16, a letter from Jennifer Ball to Grant Hughes, states,
             in pertinent part: “Based upon the assumption that he can
             move back onto the property and build a new facility, we
             propose the following to the Conservancy for the taking of Mr.
             Metro’s property and its impact on the Domino’s Pizza
             business.”
             Paragraph 3 on page 2 of that letter unequivocally states:
             “When Lawrenceburg completes its work on the flood wall, Mr.
             Metro will exercise his right to buy back the land pursuant to
             the option to purchase agreement. This option to purchase
             agreement shall entitle Mr. Metro access to the property when
             the floodwall construction is completed so he may begin
             construction on a new facility as soon as possible.”


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            Paragraph 4 on page 2 of that letter states: “Based upon our
            earlier discussions, the city of Lawrenceburg will cooperate
            with Mr. Metro to provide the necessary set back variances,
            permits, etc. to put him in the place he would have been in
            had this eminent domain action not occurred (i.e. maintain
            the existing status quo).”
            The letter goes on to state: “The purpose of the afore-
            mentioned is to allow the Conservancy to use the land as
            necessary to build the floodwall, compensate Mr. Metro for
            destroying his building and using his land such that Mr.
            Metro can return to his original site, keep his Domino’s Pizza
            in Lawrenceburg, and minimize the business damages which
            would otherwise be paid to Mr. Metro and Domino’s in a
            typical eminent domain action . . . .”
      (e)   Exhibit 20, the counter offer of Mr. Metro, contains the
            following language at paragraph 2: “The Conservancy will
            guarantee Mr. Metro’s right to exercise the option [to]
            purchase the property, as descried [sic] in paragraph one
            above, within eighteen (18) calendar months of the
            Conservancy’s possession of the property.”
      (f)   In Exhibit 26 and Exhibit 1, the Option, the parties negotiated
            that after the building was taken, the land would be returned
            “in a reasonable manner to facilitate rebuilding.”
      (g)   To the extent LCD believed this property was in a floodplain
            and could not be built upon if the project was not completed,
            no member of LCD ever communicated to Metro Family in any
            way that the Option could not be exercised until at least
            August of 2005. (Exhibits 50, 53). The failure to explicitly tell
            Metro Family that it could not rebuild because of the existence
            of other floodplain issues indicates LCD’s belief that Metro
            Family would be entitled to rebuild, even if the building
            remained within a floodplain.
      (h)   Exhibit 72, the Appraisal, indicates that while part of the
            property lies within the 100-year floodplain, the building did
            not. LCD’s own appraiser does not reflect the fact that no
            rebuilding could occur after the taking.
      (i)   Exhibit 37, a letter from Grant Hughes to Jennifer Wolfe,
            states: “If nothing changes, we can discuss how to handle the
            option at that time.” Exhibit 37 is dated February 11, 2002,
            after the City has withdrawn funding.
      (j)   Exhibit 40, is an email dated April 17, 2003. It states by Mr.
            Ewan, the attorney, that “[t]he question of the option is still up
            in the air.”
      (k)   Exhibit 45, a letter of William Ewan to Jennifer Wolfe, states:
            “Under the terms of Mr. Metro’s option, the time during which
            he may exercise that option commences when the project is

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             complete.” This letter, dated December 4, 2003, does not
             advise Metro Family that it may not exercise its option
             because the City has withdrawn funding.

       33. LCD continued to make plans for the completion of the Levee Project

 after the City withdrew funding. (Exhibit 45; testimony of Lorey).

       34. LCD has taken no efforts to enforce the Extension of Revenue Sharing

 Agreement. (Exhibit 3; testimony of Lorey and Ewan).

       35. LCD continued to express to Metro Family the hope that the project

 would be resumed or completed and that it would be able to continue to exercise

 its Option in February 2002 (Exhibits 37, 39, 40) and continuing as late as

 December 4, 2003 (Exhibit 45).

       36. Metro Family relied upon the representations as described in Finding

 of Fact 35 in allowing its building to be demolished, which occurred sometime

 after February 2002. (Exhibit 37).

       37. As to Mr. Taylor’s opinion, the court concludes that his opinion as to

 lost stream of income is too speculative to be given any weight. The court

 concludes this because he did not submit a specific report detailing his

 calculations; that his testimony as to how he compiled this information was very

 vague, including the fact he could not name certain people that he talked to or

 the name of the assessor; that he simply took an assumed amount of ten percent

 (10%) of costs from the revenue stream and applied it to his calculations; and

 that he did not reduce the matter to present value.

       In addition, the testimony of Mr. Thomas indicates that there are more

 specific calculations that can be made in an attempt to come up with an


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 appropriate opinion as to the loss of the income stream. The court finds that it

 can give no weight to Mr. Taylor’s opinion.

       38. As to Mr. Metro’s testimony, he was not specific and rendered no

 specific opinion as to the fair market value of the Property on the date of taking,

 nor to the damage that was sustained by him from the destruction of his

 building.


                      Conclusions of Law as to Count Two,
                          Breach of Option Contract

       1. In order to maintain an action for breach of contract, a plaintiff must

 show: (1) the existence of a contract; (2) the defendant’s breach of the contract;

 and (3) damages caused by the breach. Collins v. McKinney, 871 N.E.2d 363,

 370 (Ind.Ct.App. 2007).

       2. Indiana follows the four corners rule; namely, that extrinsic evidence is

 not admissible to add to, vary, or explain the terms of a written instrument if the

 terms of the instrument are susceptible of a clear and unambiguous

 construction. A document is not ambiguous simply because parties disagree

 about a term’s meaning. Language is ambiguous only if reasonable people could

 come to different conclusions as to its meaning. Cook v. Adams County Plan

 Com’n, 871 N.E.2d 1003, 1007 (Ind.Ct.App. 2007).

       3. A patent ambiguity is apparent from a look at the face of the contract.

 It arises from indefinite or confusing language within the instrument itself.

 Simon Property Group, L.P. v. Michigan Sporting Goods Distributors, Inc., 837

 N.E.2d 1058, 1070-71 (Ind.Ct.App. 2005).


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       4. A latent ambiguity on the other hand is not apparent until it becomes

 time to implement the contract. Id. at 1071. While a patent ambiguity raises a

 question of law, a latent ambiguity raises questions of fact that must be resolved

 by the fact finder. Id. at 1071.

       5. In this case, a decision by the City to revoke its prior commitment to

 fund the Levee Project created a latent ambiguity in the document between

 Metro Family and LCD. Specifically, that decision (made after the signing of the

 contract) rendered ambiguous the following language:

       [The Option] shall be exercisable for a period of eighteen (18) months
       commencing with the date written notice of Substantial Completion
       of the District’s facilities is given by District to Metro. . . .

 (Exhibit 2, ¶ 2).

       6. Under I.C. 14-33-1-1, LCD exists for the purpose of maintaining flood

 control projects. It acquired this Property solely for the purpose of the Levee

 Project and for no other purpose. When the Levee Project did not come to

 fruition, LCD had no other need or use for the Metro Family Property.

       7. Given that LCD had no need of the Property if the Levee Project was not

 going forward, the language “Substantial Completion of the District’s facilities” in

 the Option (Exhibit 1) can reasonably be understood to mean either the time in

 which the Levee Project is actually completed or the time at which a decision is

 made not to proceed with the Levee Project.

       8. Metro Family was entitled to exercise its Option commencing on the

 date by which LCD determined not to complete the Levee Project by conveying




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 the Property to the City. By refusing Metro Family’s request to exercise the

 Option, LCD breached its Option contract.

       9. The City took title to the Property knowing that it was subject to the

 claims of Metro Family.

     10. Metro Family and SOP have not proven that they have sustained any

 monetary damages, but they have proven that they sustained the loss of the

 right to exercise the Option.

     11. Indiana recognizes the “extreme equitable” remedy of reformation.

 Wedel v. American Electric Power Service Corp., 681 N.E.2d 1122, 1138

 (Ind.Ct.App. 1997). To obtain this remedy, the party seeking reformation must

 establish the true intentions of the parties to an instrument, that a mistake was

 made, that the mistake was mutual, and that the instrument does not reflect the

 true intentions of the parties. In particular, in Indiana, reformation may only be

 had for a mistake of fact.

     12. In this case, Metro Family has established that: (a) the true intentions

 of the parties to this instrument were that both parties reasonably believed the

 Levee Project was fully funded and would be completed, and that Metro Family

 would exercise the Option and return to business at its prior location; (b) a

 factual mistake was made because the Levee Project was not fully and

 completely funded; (c) both parties mutually believed the project was completely

 funded; and (d) the instrument does not reflect the true intentions of the parties.

 Because the parties were mutually mistaken about the fact that the project was

 fully funded, reformation is appropriate in these circumstances.


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                       Conclusions of Law as to Count Three,
                               Promissory Estoppel

     13. Indiana recognizes the equitable contractual claim of promissory

 estoppel. Pepsi-Cola General Bottlers, Inc. v. Woods, 440 N.E.2d 696 (Ind.Ct.App.

 1982). This doctrine sounds in contract, is not a tort, and does not require the

 filing of a Tort Claim Notice. In order to avail itself of the doctrine of promissory

 estoppel, Metro Family must prove:

          (a)   a promise which the promisor should reasonably expect to
                induce action or forbearance of a definite and substantial
                character on the part of the promisor;

          (b)   that the promise did induce such action or forbearance; and

          (c)   injustice can be avoided only by the enforcement of the
                promise.

 Eby v. York-Division, Borg Warner, 455 N.E.2d 623 (Ind.Ct.App. 1983).

     14. In this case, after the City withdrew funding from the project, LCD

 made promises to Metro Family that the project would continue forward into the

 future (see Factual Finding 36) and that Metro Family would be able to exercise

 the Option later. Those promises were of a type LCD should reasonably expect

 to induce Metro Family to allow the destruction of its building on the site at

 issue.

     15. Had those promises not been made, Metro Family would have

 determined to maintain their current building in its location because it was a

 good location for business, because the building had not flooded, and because it

 would likely have been allowed to continue to operate in what might otherwise be




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 a floodplain (because it had been in existence prior to the enactment of certain

 restrictions on building within a floodplain).

       16. LCD’s promises did induce Metro Family to allow its building to be

 demolished.

       17. In this case, because the Metro Family Property has now been

 reconveyed to the City, injustice can only be avoided by enforcing the promise.

       18. Under the doctrine of promissory estoppel, Metro Family is entitled to

 exercise its Option to purchase the Property within eighteen (18) months of the

 date of this decision.


                                       Analysis

 (A)    As to Count Two, Breach of Option Contract:

        In this case, Metro Family and LCD entered into a contractual relationship

 as an alternative to the exercise of the power of eminent domain by LCD. The

 language in the contract and Option was negotiated by both parties, and each

 had input as to the final language found in the contractual documents.

        At the time that the contractual documents were executed, the parties

 mutually believed that the City had committed in writing to fund the Levee

 Project and that there was minimal or no chance that the project would be

 stopped in mid-stream. In fact, it could be said that the project had begun,

 though dirt had not yet been turned. LCD had written documents from the City

 committing to fund the project, had substantial funds of their own to contribute

 to project completion, had actually paid for and obtained plans and

 specifications to start the project, and actually believed (and believe to this day)

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 that the project should be completed. Metro Family had asked for and received

 documents confirming the City’s agreement to fund the project, was aware that

 LCD had begun the process of using eminent domain power to obtain this and

 other real property for the project, and had received from LCD board members

 and the project manager repeated assurances that the project was to be

 completed. In short, at the time the parties executed the documents, the Levee

 Project had in fact been started because drawings and specifications had been

 produced and LCD had already exercised its legal right to obtain Property.

       Both Metro Family and LCD had some slight reason to consider whether

 the Levee Project might not be completed. Metro Family members asked

 “hundreds of times” if the project was going to be completed. LCD had received

 a letter from the City Council members questioning whether the project was

 being properly managed. Either party could have suggested specific language to

 address what would happen to the Metro Family Property if the Levee Project did

 not come to completion. However, neither party did suggest such language. In a

 perfect world, one party or the other should have suggested such language.

 Under the facts of this case, however, and based upon both parties’ mutual

 understanding that the City had committed to fund this project, it was

 understandable and reasonable for both parties to have failed to include such a

 contingency in the final documents.

       Therefore, at the time these documents were executed, they did not

 contain any ambiguity. Metro Family was entitled to exercise the Option

 commencing on a date that would be able to be specifically understood by the


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 parties, but was flexible enough to accommodate the well-known difficulties of

 predicting precisely when a major construction project will be completed.

       It was only after the execution of the contractual documents that an event

 outside the control of either of the parties occurred which caused an ambiguity

 to arise in the execution of contractual duties. That event was the City’s

 decision to withdraw from its prior commitment to fund the Levee Project. LCD

 did not have sufficient funds of its own at that time to fund the project. For

 political reasons having to do with a desire not to substantially raise its own tax

 rates, and to avoid a confrontational relationship with the City itself, LCD did

 not either complete the project itself or attempt to force the City to re-fund the

 project.

       The City’s actions created an ambiguity within the contract as to whether

 and when Metro Family might exercise the Option it received to repurchase its

 Property. When faced with a latent ambiguity which arises not on the face of the

 documents, but arises out of an attempt to execute the contract itself, Indiana

 courts may consider extrinsic evidence to determine the intent of the parties.

       After hearing all the evidence the Magistrate Judge concludes that when

 the documents were signed, Metro Family intended to be able to return to the

 Property if the Levee Project was not completed because it was a good location to

 do business and the building itself had never flooded before, even without a

 levee. The Magistrate Judge concludes that when the documents were signed

 LCD took this Property only for the sole purpose of creating the levee. There is

 no evidence before the Magistrate Judge that LCD took it for any other general


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 flood control purpose. Therefore, if the Levee Project did not come to fruition,

 the intent of LCD at the time the contractual documents were signed would have

 been to return the Property to Metro Family by allowing them to exercise the

 Option, and that the Option would have to be exercised within eighteen (18)

 months of the time LCD decided not to proceed with the project.

       In this case, the evidence establishes that LCD has always wanted the

 Levee Project to go forward and held out hope that it would be completed for a

 considerable period of time after the City withdrew its funding. It completed

 plans for the project even after the City withdrew funding. LCD represented to

 Metro Family that there was time in the future in which the Option could be

 exercised. LCD’s final decision to abandon the project came when it conveyed its

 interest in the Metro Family Property to the City.

       The Magistrate Judge, therefore, concludes that Metro Family has proven:

 (1) the existence of an Option contract; (2) that the contract contained a latent

 ambiguity; (3) that the intention of the parties was to allow Metro Family to

 exercise the Option if the Levee Project was not completed; (4) that LCD

 breached the Option contract by refusing to allow Metro Family to exercise the

 Option within eighteen (18) months of LCD’s final decision not to proceed with

 the project, which in this case is its decision to convey the Property to the City.

       In order to recover on its breach of contract case, Metro Family must

 establish that it was damaged. In this case, the Magistrate Judge finds that

 Metro Family has not proven monetary damages. The testimony of the expert




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 witness tendered by Metro Family is too speculative to base any opinion about

 what the fair market value of the Metro Family Property is or was, or to establish

 with any certainty the amount of any income stream lost from an inability to

 exercise the Option. That being said, the Magistrate Judge does not believe that

 LCD’s payment of $417,000 reflected the complete fair market value of taking

 this Property. While the precise dollar value of the Option can be debated, the

 evidence before the Magistrate Judge is that the parties to this contract freely

 bargained for the Metro Family Property and came to the conclusion that the

 value of the Property was $417,000 plus the right to exercise the Option. Metro

 Family has established that it has been damaged by being unable to exercise its

 Option.

       By failing to place into evidence the specific monetary value of the Option,

 has Metro Family then failed in its burden of proving damages? The Magistrate

 Judge concludes that the answer to this question is “No,” because Indiana

 courts do recognize that in rare and extraordinary circumstances the remedy of

 “reformation” can come into play. Reformation can only be employed when a

 mutual mistake of fact has occurred. Here, this court has concluded that

 mutual mistake was made, and reformation of the contract is a proper remedy.

 The Option is reformed only to the extent that Metro Family may exercise it

 within eighteen (18) months of the date of this order – that being the date that

 this court has concluded that Metro Family was, in fact and law, entitled to

 exercise the Option if the Levee Project did not occur.




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 (B)   As to Count Three, the Claim of Promissory Estoppel:

       Indiana recognizes an equitable contractual doctrine of promissory

 estoppel. Because the claim sounds in contract and not tort, no notice of tort

 claim is required before the claim may be brought in court.

       Here, any promises made by LCD prior to the execution of the Option

 contract itself would not fall within the doctrine of promissory estoppel, but

 rather must be analyzed under the contract. However, in this case there were

 promises made by LCD after the execution of the contract which may be subject

 to this doctrine. Specifically (at Factual Findings 33, 35, and 36), after the City

 withdrew funding for the Levee Project, LCD represented that the Levee Project

 would proceed into the future and that Metro Family would be entitled to

 exercise its Option later. In reliance on these promises, Metro Family allowed its

 building to be torn down.

       The Magistrate Judge believes that but for the promises of LCD made after

 the City had withdrawn funding but before the building had been demolished,

 Metro Family would have sought to keep the building in place and the business

 in operation. This is because this Property was a good location for business and

 because the building itself had never flooded. The loss of the building and ability

 to continue into operation in the future is damage. While Metro Family has not

 provided sufficient evidence of the monetary value of that damage, it should be

 entitled to some remedy. Under the doctrine of promissory estoppel, that remedy

 is to enforce the promise. Metro Family should now be allowed to exercise the

 Option if it chooses to do so, and it must do so within a reasonable time from the


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 date of this order. In keeping with the findings on the breach of contract claim,

 that time period is eighteen (18) months.


                                     Decision

       Judgment shall enter in this case as to Counts Two and Three of the

 plaintiffs’ Second Amended Complaint that this court declares that plaintiff

 Metro Family LLC is entitled to exercise the option contained in the Option

 contract signed November 30, 2001, within eighteen (18) months commencing

 May 1, 2009.

       As previously determined, the plaintiffs’ claims under Count Four of the

 Second Amended Complaint are dismissed. (See Docket No. 111). The parties

 have advised the court that they have resolved their dispute under Count One.

 (See Docket No. 132). It appearing that all matters in dispute are now resolved,

 there is no just reason for delay and a final judgment shall now enter.

       SO ORDERED.


 Entered: May 1, 2009
                                               _______________________________
                                                WILLIAM G. HUSSMANN, JR.
                                                     Magistrate Judge

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